 Phone (919) 645-1700
 Fax (919) 645-1750        United States District Court                      Peter A. Moore, Jr.
                                                                               Clerk of Court
                               Office of the Clerk
                                    310 New Bern Ave.
                                    Raleigh, NC 27601


                                     MEMORANDUM


Date: 12/29/2017

To:     Assistant United States Attorney

From: Linda Downing, Deputy Clerk

Re:     Truman Scott - 7:98-cr-79-1BO


The defendant has filed a pro se motion with this court. The Government is directed to file a
response to the motion within 21 days of the entry of this memorandum.

The motion is docket entry 275 in CM/ECF.

Thank you for your time with this matter.




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